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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
       Plaintiff                                   )
                                                   )
v.                                                 )       Case No. 1:17-cr-10105-STA
                                                   )
TAMMY RANGER (7),                                  )
                                                   )
       Defendant                                   )


                     ORDER RESETTING SENTENCING HEARING
                           AND NOTICE OF RESETTING


       The Sentencing Hearing in this matter is currently set for June 4, 2019 before Chief Judge

S. Thomas Anderson. The Sentencing Hearing in the above styled matter is hereby reset to

Thursday, June 20, 2019, at 1:30 p.m. before Judge S. Thomas Anderson; Courtroom #1, 4th

Floor, US Courthouse, Jackson, Tennessee.

       Enter this the 3rd day of June, 2019.



                                                   s/ S. Thomas Anderson
                                                   Chief United States District Judge
